                                                Case 3:07-cv-05944-JST Document 4549 Filed 04/08/16 Page 1 of 2



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                                           8                         UNITED STATES DISTRICT COURT
                                           9                      NORTHERN DISTRICT OF CALIFORNIA
                                          10                              SAN FRANCISCO DIVISION
R OBINS K APLAN LLP




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            A TTORNEYS A T L AW




                                               IN RE: CATHODE RAY TUBE (CRT)                     Master File No. 3:07-cv-05944-SC
                                          12   ANTITRUST LITIGATION                              MDL No. 1917
                          L OS A NGELES




                                          13                                                     The Honorable Samuel Conti
                                               This Document Relates to:
                                          14                                                     [PROPOSED] ORDER OF
                                               Best Buy Co. Inc. et al. v. Hitachi, Ltd.         DISMISSAL
                                          15   et al., No. 3:11-cv-05513-SC
                                                                                                 Judge:       Hon. Jon S. Tigar
                                          16                                                     Courtroom:   9, 19th Floor
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                                               Master Case No. 3:07-cv-05944-SC            -1-     [PROPOSED] ORDER OF DISMISSAL
                                               61185474.1
                                                Case 3:07-cv-05944-JST Document 4549 Filed 04/08/16 Page 2 of 2



                                           1         The Court, having considered the stipulation of the parties, and good cause
                                           2   appearing, orders as follows:
                                           3         1. The action filed by Best Buy Co., Inc., Best Buy Purchasing LLC, Best
                                           4             Buy Enterprise Services, Inc., Best Buy Stores, L.P., BestBuy.com,
                                           5             L.L.C., and Magnolia Hi-Fi, LLC is dismissed with prejudice as against
                                           6             Defendants Mitsubishi Electric Corporation, Mitsubishi Electric Visual
                                           7             Solutions America, Inc., and Mitsubishi Electric US, Inc.
                                           8         2. This dismissal does not affect the rights or claims of Best Buy against any
                                           9             other defendant in this litigation.
                                          10         3. Each party shall bear its own costs and attorneys’ fees.
R OBINS K APLAN LLP




                                          11         IT IS SO ORDERED.                      E S DISTRICT
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                                                      April 8, 2016
                                               Dated: ____________                _______________________________________
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                                                                                  The Honorable Jon S. Tigar
                                          15                                      UNITED STATES DISTRICT COURT JUDGE
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                                               Master Case No. 3:07-cv-05944-SC         -2-            [PROPOSED] ORDER OF DISMISSAL
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